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                         ATTACHMENT 1

   THE JOINT DISCOVERY/CASE-MANAGEMENT PLAN




                                                          (Revised March 2017)
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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

___________________________,                        '
                                                    '
                        Plaintiff(s),               '
                                                    '
v.                                                  '           CIVIL ACTION NO. H-________
                                                    '
___________________________,                        '
                                                    '
                      Defendant(s).                 '

                     JOINT DISCOVERY/CASE MANAGEMENT PLAN
                                 UNDER RULE 26(f)
                        FEDERAL RULES OF CIVIL PROCEDURE

                  Please restate the instruction before furnishing the information.

1.      State where and when the meeting of the parties required by Rule 26(f) was held, and
        identify the counsel who attended for each party.

2.      List the cases related to this one that are pending in any state or federal court with the
        case number and court.

3.      Briefly describe what this case is about.

4.      Specify the allegation of federal jurisdiction.

5.      Identify the parties who disagree and the reasons.

6.      List anticipated additional parties that should be included, when they can be added, and
        by whom they are wanted.

7.      List anticipated interventions.

8.      Describe class-action or collective-action issues.

9.      State whether each party represents that it has made the initial disclosures required by
        Rule 26(a). If not, describe the arrangements that have been made to complete the
        disclosures.

10.     Describe the proposed agreed discovery plan, including:

        A.     Responses to all the matters raised in Rule 26(f), including any agreements
               reached concerning electronic discovery and any disputed issues relating to
               electronic discovery.


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        B.     When and to whom the plaintiff anticipates it may send interrogatories.

        C.     When and to whom the defendant anticipates it may send interrogatories.

        D.     Of whom and by when the plaintiff anticipates taking oral depositions.

        E.     Of whom and by when the defendant anticipates taking oral depositions.

        F.     When the plaintiff (or the party with the burden of proof on an issue) will be able
               to designate experts and provide the reports required by Rule 26(a)(2)(B), and
               when the opposing party will be able to designate responsive experts and provide
               their reports.

        G.     List expert depositions the plaintiff (or the party with the burden of proof on an
               issue) anticipates taking and their anticipated completion date. See Rule
               26(a)(2)(B) (expert report).

        H.     List expert depositions the opposing party anticipates taking and their anticipated
               completion date. See Rule 26(a)(2)(B) (expert report).

        I.     In a case involving parties that are unincorporated entities, such as an LLC or
               LLP, state the citizenship of every member and file an affidavit or declaration
               setting out the citizenship of every member.

11.     If the parties are not agreed on a part of the discovery plan, describe the separate views
        and proposals of each party.

12.     Specify the discovery beyond initial disclosures that has been undertaken to date.

13.     State the date the planned discovery can reasonably be completed.

14.     Describe the possibilities for a prompt settlement or resolution of the case that were
        discussed in your Rule 26(f) meeting.

15.     From the attorneys' discussion with the client, state the alternative dispute resolution
        techniques that are reasonably suitable, and state when such a technique may be
        effectively used in this case.

16.     Magistrate judges may now hear jury and nonjury trials. Indicate the parties' joint
        position on a trial before a magistrate judge.

17.     State whether a jury demand has been made and if it was made on time.

18.     Specify the number of hours it will likely take to present the evidence in this case.

19.     List pending motions that could be ruled on at the initial pretrial and scheduling
        conference.

20.     List other pending motions.

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21.     List issues or matters, including discovery, that should be addressed at the conference.

22.     Certify that all parties have filed the Disclosure of Interested Persons as directed in the
        Order for Conference and Disclosure of Interested Persons, listing the date of filing for
        original and any amendments.

23.     List the names, bar numbers, addresses, telephone numbers, and e-mails of all counsel
        and unrepresented parties.




Counsel for Plaintiff(s)                             Date




Counsel for Defendant(s)                             Date




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                        ATTACHMENT 2

             THE PROPOSED SCHEDULING AND
                DOCKET CONTROL ORDER




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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

_________________________,                       §
                                                 §
                       Plaintiff(s),             §
                                                 §
v.                                               §    CIVIL ACTION NO. H-_____________
                                                 §
_________________________,                       §
                                                 §
                       Defendant(s).             §

                               PROPOSED SCHEDULING AND
                                DOCKET CONTROL ORDER

        The disposition of this case will be controlled by the following schedule:

1.      __________________             MOTIONS TO ADD NEW PARTIES
                                       The attorney causing the addition of new parties will provide
                                       copies of this Order to new parties.

2.      ___________________            MOTIONS FOR LEAVE TO AMEND PLEADINGS
                                       Parties filing motions after this deadline must show good
                                       cause.

                                       EXPERTS ON MATTERS OTHER THAN
                                       ATTORNEY’S FEES
3a.     ___________________            The plaintiff (or the party with the burden of proof on an
                                       issue) will designate expert witnesses in writing and provide
                                       the report required by Rule 26(a)(2) of the Federal Rules of
                                       Civil Procedure.

3b.     ____________________           The opposing party will designate expert witnesses in writing
                                       and provide the report required by Rule 26(a)(2) of the
                                       Federal Rules of Civil Procedure.

4.      ____________________           MEDIATION
                                       Mediation or other form of dispute resolution must be
                                       completed by this deadline.

5.      ___________________            COMPLETION OF DISCOVERY
                                       Written discovery requests are not timely if they are filed so
                                       close to this deadline that under the Federal Rules of Civil
                                       Procedure the response would not be due until after the
                                       deadline.



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6.     ___________________             PRETRIAL DISPOSITIVE MOTIONS DEADLINE
                                       No motion may be filed after this date except for good cause.

7.     ____________________            JOINT PRETRIAL ORDER AND MOTION IN LIMINE
                                       DEADLINE
                                       The Joint Pretrial Order will contain the pretrial disclosures
                                       required by Rule 26(a)(3) of the Federal Rules of Civil
                                       Procedure. Plaintiff is responsible for timely filing the
                                       complete Joint Pretrial Order. Failure to file a Joint Pretrial
                                       Order timely may lead to dismissal or other sanction in
                                       accordance with the applicable rules.

8.     ____________________            DOCKET CALL
                                       Docket Call will be held at 2:00 p.m. in Courtroom 11-B,
                                       United States Courthouse, 515 Rusk, Houston, Texas. No
                                       documents filed within 7 days of the Docket Call will be
                                       considered. Pending motions may be ruled on at docket call,
                                       and the case will be set for trial as close to the docket call as
                                       practicable.

9      Additional orders relating to disclosures, discovery, or pretrial motions:

       Any party wishing to make any discovery motions should arrange for a pre-motion
conference with the court before the preparation and submission of any motion papers. That includes
a motion to compel, to quash, or for protection.                       Email Mrs. Eddins at
Lisa_Eddins@txs.uscourts.gov or fax her at 713-250-5213 to arrange for a pre-motion conference.
Notify your adversary of the date and time for the conference.

      The parties agree to submit attorney’s fees issues to the court by affidavit after liability and
damages are resolved.

      Other: __________________________________________________________________
______________________________________________________________________________

       Signed on_______________________, at Houston, Texas.


                                               _____________________________________
                                                             Lee H. Rosenthal
                                                     Chief United States District Judge




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                         ATTACHMENT 3

   GUIDELINES AND PRACTICES FOR IMPLEMENTING
       THE 2015 DISCOVERY AMENDMENTS TO
            ACHIEVE PROPORTIONALITY




                                  3                       (Revised March 2017)
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      GUIDELINES and
        PRACTICES for
      IMPLEMENTING
              the 2015
          DISCOVERY
       AMENDMENTS
          to ACHIEVE
    PROPORTIONALITY
                                                                                          The
                                                                                                            Duke Law Judicial Studies
                                                                                                            Center Guidelines and
                                                                                                            Practices for Implementing
                                                                                          the 2015 Discovery Amendments to Achieve
                                                                                          Proportionality explain amendments to
                                                                                          Federal Rule of Civil Procedure 26(b) that
                                                                                          take effect on Dec. 1, 2015, and recommend
                                                                                          useful, practical, and concrete implement-
                                                                                          ing procedures and practices that build on
                                                                                          the amendments’ framework.
                                                                                              More than 2,000 comments were
                                                                                          submitted during the Civil Rules Advisory
                                                                                          Committee’s six-month rulemaking
                                                                                          public-comment period, expressing
                                                                                          concerns about the ambiguity of certain
                                                                                          factors enumerated in the proportional-
                                                                                          ity standard (“needs of the case,” “burden
                                                                                          or expense outweighs benefit,” “parties’
                                                                                          resources,” “importance of issues,”
                                                                                          and “importance of discovery”). Other
                                                                                          comments raised concerns about the signif-
                                                                                          icance of reordering the factors and apply-
                                                                                          ing certain factors too early in litigation  4




                                                                                          published by the
                                                                                          DUKE LAW SCHOOL
               VOLUME 99           NUMBER 3            WINTER 2015                        CENTER FOR JUDICIAL STUDIES

        JUDICATURE
   Published by the Duke Law Center for Judicial Studies and reprinted with permission.
                                                                                          Suggested citation: Discovery Proportionality Guidelines and
                                                                                          Practices, 99 Judicature, no. 3, Winter 2015, at 47–60.
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                                            ACKNOWLEDGMENTS
            We would like to thank the more than 30 experienced practitioners, who devoted substantial time
         and effort to improve the administration of justice, under the leadership of the project’s reporters, Hon.
         Lee H. Rosenthal and Prof. Steven Gensler. Numerous others, including many judges, provided counsel
         and advice on discrete issues and general approaches.
            Eight of the practitioners assumed greater responsibility as team leaders:

         TEAM LEADERS
         Mark Chalos				                    Jonathan Levine	    			
         Lieff Cabraser Heimann & Bernstein Pritzker Levine LLP			

         Joe Garrison                                            Annika Martin
         Garrison, Levin-Epstein , Richardson,                   Lieff Cabraser Heimann & Bernstein
         Fitzgerald & Pirrotti, PC
                                                                 Madeleine McDonough			
         David Ichel				                                         Shook Hardy & Bacon LLP		
         Simpson Thacher & Bartlett LLP		
                                                                 Kaspar Stoffelmayr
         John Jansonius                                          Bartlit Beck Herman Palenchar & Scott LLP
         Jackson Walker LLP	


            The following practitioners lent their substantial expertise in reviewing and suggesting edits to the
         guidelines:

         TEAM MEMBERS
         Jennie Anderson	     			Mike Klein
         Andrus Anderson LLP		   Altria Client Services Inc.

         Lea Bays                                                Robert Levy				
         Robbins Geller Rudman & Dowd                            ExxonMobil Corp.		

         William Beausoleil	 			     Altom Maglio
         Hughes Hubbard & Reed LLP		 Maglio Christopher & Toale PA

         Anna Benvenutti Hoffmann                                Jon Palmer			
         Neufeld Scheck & Brustin LLP                            Microsoft Corporation		

         William Butterfield	 			Dan Regard
         Hausfeld LLP		          Intelligent Discovery Solutions, Inc.

         Dennis Canty                                            John Rosenthal				
         Kaiser Gornick LLP                                      Winston & Strawn LLP	

         Michael Dockterman		                                    Dena Sharp
         Steptoe & Johnson LLP	                                  Girard Gibbs LLP

         Daniel Donovan                                          Len Simon				
         Kirkland & Ellis LLP                                    Robbins Geller Rudman & Dowd

         John Griffin				       Elise Singer
         Marek Griffin & Knaupp Fine, Kaplan and Black RPC

         Maura Grossman                                          Don Slavik		
         Wachtell Lipton Rosen & Katz                            Robinson Calcagnie Robinson Shapiro Davis, Inc.

         Megan Jones			                                          Ariana Tadler	
         Hausfeld LLP                                            Milberg LLP

         Colleen Kenney
                                                                 REPORTERS
         Sidley Austin LLP
                                     Hon. Lee H. Rosenthal
         Jenifer Klar				
                                     Prof. Steven Gensler
         Relman, Dane & Colfax PLLC	
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because they change and evolve during the course of a lawsuit,      for the comments, deferring consideration of inconsistent or
while others suggested that the amendments shifted the burden       disputed suggestions for further comment from the teams.
of proof.                                                               On July 31, 2015, the Third Draft was circulated to the
    The Center held a conference on the new amendments with         teams and sent to 300 practitioners active in the area. The
more than 70 practitioners and 15 federal judges Nov. 13-14,        Third Draft was also posted for three weeks on the Center’s
2014, in Arlington, Virginia, as the first step in a drafting       website in case others were interested and wished to comment.
process that aimed to provide greater guidance on what the          Thirty-three individuals and organizations, primarily repre-
amendments are intended to mean and how to apply them               senting lawyers practicing employment discrimination law,
effectively. From the beginning it was understood that,             submitted comments and proposed edits, all of which were
although some disagreed with all or some of the rule changes,       considered by the reporters.
the project’s goal was not to revisit the choices made during the       The reporters prepared a Fourth Draft and met with the
rulemaking process, but to take the amended rules as the start-     eight team leaders and an additional judge in a one-day
ing point for guidelines to help apply them in specific cases.      drafting session in Dallas on August 28 to refine the draft and
    Many discovery proportionality practices and procedures         address lingering disagreements. The Fifth Draft was forwarded
were raised and discussed at the conference. At its conclusion,     to the volunteers on Sept. 4, 2015.
40 practitioners and judges volunteered to serve on teams, lead-        The Guidelines and Practices are the culmination of a process
ing to guidelines implementing the new rule amendments.             that began in November 2014. Although the Duke Law
    It was evident at the conference that lawyers practicing in     Judicial Studies Center retained editorial control, this iterative
different areas of law viewed the amendments from different         drafting process provided multiple opportunities for the volun-
perspectives and had different views on how the amendments          teers on the four teams to confer, suggest edits, and comment
should be applied. To make sure that these different perspec-       on the guidelines and practices. Substantial revisions were
tives were considered in the drafting process, four teams of        made during the process. Many compromises, affecting matters
volunteers were formed with roughly 10 practitioners and            on which the 40 volunteer contributors hold passionate views,
judges on each team, divided by practice: (1) personal injury/      were also reached. But the Guidelines and Practices should not be
products liability; (2) commercial litigation; (3) employment/      viewed as representing unanimous agreement, and individual
civil rights; and (4) complex litigation. Two leaders, one plain-   volunteer contributors may not necessarily agree with every
tiff practitioner and one defense practitioner, were designated     guideline and practice. In addition, the Guidelines and Practices
for each team.                                                      may not necessarily reflect the official position of Duke Law
    The Hon. Lee H. Rosenthal and Prof. Steven Gensler agreed       School as an entity or of its faculty or of any other organization,
to be the project’s reporters. In late March 2015, the reporters    including the Judicial Conference of the United States.
provided the four teams a 75-page study, detailing background           The Guidelines and Practices were completed after an inten-
information about the 2015 rules amendments and proposing           sive one-year effort involving the bench, bar, and academy
approaches for implementing the proportionality amendments.         intended to meet the immediate need of the bench and bar for
To a large extent, the study built on approaches adopted as best    guidance on amendments taking effect in December 2015.
practices by judges who have been strong proponents of the          Recognizing that case law and case-management techniques
“proportionality principles” for many years. Key points in the      quickly evolve, the Guidelines and Practices will be periodically
study were identified and set out in a stand-alone, 12-page set     updated. The updating will be informed by separate regional
of guidelines and practices.                                        conferences held by the Center with smaller groups of judges
    The study and the draft guidelines and practices were circu-    and practitioners evaluating the Guidelines and Practices. A
lated to the 40 volunteers to get a general sense of the group’s    major conference will follow in 18 to 24 months, and the
thinking. After reviewing the comments, the reporters revised       Guidelines and Practices will be revised in light of bench and bar
the guidelines and practices and produced the Second Draft in       actual experience.
late May.                                                               By bringing together the strengths of prominent judges,
    The four teams circulated proposed edits among themselves       practitioners, and law professors to bear on important issues
and held one or more conference calls in June/July. They submit-    affecting the civil litigation system, the Center is fulfilling its
ted joint comments, which were circulated among the four            mission to improve the administration of justice.
teams. In late July, the reporters revised the draft to account

                                                                    John K. Rabiej
                                                                    Director, Duke Law School Center for Judicial Studies		
                                                                    					
                                                                    Malini Moorthy
                                                                    Chair, Center Advisory Council
                                                                    Sept. 10, 2015
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        I. The Guidelines
                                These guidelines for applying the 2015
                                “proportionality” amendments to the
                                Federal Rules of Civil Procedure discuss
                                what the amendments mean, what they
                                did and did not change, and ways to
                                understand their impact and meaning.
                                The guidelines add some flesh to the bones
                                of the rule text and Committee Note and
                                explore how the amendments intersect
                                with other rule provisions. The guidelines
                                are, of course, not part of the rules and
                                have no binding effect. They are a resource
                                for judges, lawyers, and litigants who
                                must understand the amendments and
                                their impact to use and comply with the
                                rules governing discovery.
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                         GUIDELINE 1                                    issues at stake in the particular case. This factor recog-
                                                                        nizes that many cases raise issues that are important
Rule 26(b)(1) defines the scope of discovery as “any                    for reasons beyond any money the parties may stand to
nonprivileged matter that is relevant to any party’s claim              gain or lose in a particular case. 	
or defense and proportional to the needs of the case.”
Proposed discovery must be both relevant and propor-                    COMMENTARY
tional to be within the scope that Rule 26(b)(1) permits.
                                                                        A case seeking to enforce constitutional, statutory, or common-
The Rule 26(b)(1) amendments, however, do not alter
                                                                        law rights, including a case filed under a statute using attorney
the parties’ existing discovery obligations or create new               fee-shifting provisions to encourage enforcement, can serve
burdens.                                                                public and private interests that have an importance beyond any
                                                                        damages sought or other monetary amounts the case may involve.

COMMENTARY
                                                                        GUIDELINE 2(B): “Amount in Controversy”
Discovery that seeks relevant and nonprivileged information is
                                                                        This factor examines what the parties stand to gain or
within the permitted scope of discovery only if it is proportional to
the needs of the case.                                                  lose financially in a particular case as part of deciding
   As used in Rule 26(b)(1), proportionality describes:                 what discovery burdens and expenses are reasonable
  (a) 	the six factors to be considered in allowing or limiting
        discovery to make it reasonable in relationship to a particu-
                                                                        for that case. The amount in controversy is usually the
        lar case;                                                       amount the plaintiff claims or could claim in good faith.
  (b) 	the criteria for identifying when the discovery meets that
        goal;
  (c) 	 the analytical process of identifying the limits, including     COMMENTARY
        what information is needed to decide what discovery to
        allow and what discovery to defer or deny; and                  If a specific amount in controversy is alleged in the pleadings and
  (d) 	the goal itself.                                                 challenged, or no specific amount is alleged and the pleading is
                                                                        limited to asserting that the amount exceeds the jurisdictional
                                                                        minimum, the issue is how much the plaintiff could recover based
                                                                        on the claims asserted and allegations made. When an injunction
                         GUIDELINE 2                                    or declaratory judgment is sought, the amount in controversy
                                                                        includes the pecuniary value of that relief. The amount-in-contro-
                                                                        versy calculation can change as the case progresses, the claims and
Rule 26(b)(1) identifies six factors for the parties1 and
                                                                        defenses evolve, and the parties and judge learn more about the
the judge to consider in determining whether proposed                   damages or the value of the equitable relief.
discovery is “proportional to the needs of the case.” As                    	
discussed further in Guideline 3, the degree to which
any factor applies and the way it applies depend on the
facts and circumstances of each case.

   		
GUIDELINE 2(A): “Importance of Issues at Stake”
This factor focuses on measuring the importance of the
                                                                                                                                              4
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GUIDELINE 2(C): “Relative Access to Information”                        COMMENTARY
This factor addresses the extent to which each party has
                                                                        In general, more can be expected of parties with greater resources
access to relevant information in the case. The issues to               and less of parties with scant resources, but the impact of the
be examined include the extent to which a party needs                   parties’ reasonably available resources on the extent or timing of
                                                                        discovery must be specifically determined for each case.
formal discovery because relevant information is not                       As with all of the factors, this factor is only one consideration.
otherwise available to that party.                                      Even if one party has significantly greater resources, this factor
                                                                        does not require that party to provide all or most of the discovery
                                                                        proposed simply because it is able to do so. Nor does it mean that
COMMENTARY                                                              parties with limited resources can refuse to provide relevant infor-
                                                                        mation simply because doing so would be difficult for financial or
In a case involving “information asymmetry” or inequality, in which     other reasons. A party’s ability to take discovery is not limited by
one party has or controls significantly more of the relevant informa-   the resources it has available to provide discovery in return.
tion than other parties, the parties with less information or access       The basic point is what resources a party reasonably has
to it depend on discovery to obtain relevant information. Parties       available for discovery, when it is needed. Evaluating the resources
who have more information or who control the access to it are often     a party can reasonably be expected to expend on discovery may
asked to produce significantly more information than they seek or       require considering that party’s competing demands for those
are able to obtain from a party with less.                              resources.
    The fact that a party has little discoverable information to
provide others does not create a cap on the amount of discovery it
                                                                        GUIDELINE 2(E): “Importance of Discovery”
can obtain. A party’s ability to take discovery is not limited by the
amount of relevant information it possesses or controls, by the         This factor examines the importance of the discovery to
amount of information other parties seek from it, or by the amount      resolving the issues in the case.
of information it must provide in return. Discovery costs and
burdens may be heavier for the party that has or can easily get the
bulk of the essential proof in a case.                                  COMMENTARY
    When a case involves information asymmetry or inequality,
proportionality requires permitting all parties access to necessary     One aspect of this factor is to identify what issues or topics are the
information, but without the unfairness that can result if the asym-    subject of the proposed discovery and how important those issues
metries are leveraged by any party for tactical advantage. Unfair-      and topics are to resolving the case. Discovery relating to a central
ness can occur when a party with significantly less information         issue is more important than discovery relating to a peripheral
imposes unreasonable demands on the party who has voluminous            issue. Another aspect is the role of the proposed discovery in
information. Unfairness can also occur when a party with signifi-       resolving the issue to which that discovery is directed. If the
cantly more information takes unreasonably restrictive or dilatory      information sought is important to resolving an issue, discovery to
positions in response to the other party’s requests.                    obtain that information can be expected to yield a greater benefit
                                                                        and justifies a heavier burden, especially if the issue is important
GUIDELINE 2(D): “Parties’ Resources”                                    to resolving the case or materially advances resolution. If the infor-
                                                                        mation sought is of marginal or speculative usefulness in resolving
This factor examines what resources are available to                    the issue, the burden is harder to justify, especially if the issue is
the parties for gathering, reviewing, and producing                     not central to resolving the case or is unlikely to materially advance
information and for requesting, receiving, and reviewing                case resolution.
                                                                           Understanding the importance of proposed discovery may
information in discovery. “Resources” means more than                   involve assessing what the requesting party is realistically able to
a party’s financial resources. It includes the technological,           predict about what added information the proposed discovery will
administrative, and human resources needed to perform                   yield and how beneficial it will be.

the discovery tasks.
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GUIDELINE 2(F): Whether the Burden or Expense                               whether the requesting party has adequately specified the likely
                                                                            benefits of the proposed discovery may involve assessing the
Outweighs Its Likely Benefit
                                                                            information the requesting party already has, whether through its
This factor identifies and weighs the burden or expense                     own knowledge, through publicly available sources, or through
of the discovery in relation to its likely benefit. There is                discovery already taken.
                                                                                A party with inferior access to discoverable information relevant
no fixed burden-to-benefit ratio that defines what is or                    to the claims or defenses may also have inferior access to the
is not proportional. When proportionality disputes arise,                   information needed to evaluate the benefit, cost, and burden of
the party in the best position to provide information                       the discovery sought. Assessing the benefits of proposed discovery
                                                                            may also involve assessing how well the requesting party is able to
about the burdens, expense, or benefits of the proposed                     predict what added information the proposed discovery will yield
discovery ordinarily will bear the responsibility for doing                 and how beneficial it will be.
so. Which party that is depends on the circumstances.                           Party cooperation is particularly important in understanding
                                                                            the burdens or benefits of proposed discovery and in resolving
In general, the party from whom proposed discovery is                       disputes. The parties should be prepared to discuss with the judge
sought ordinarily is in a better position to specify and                    whether and how they communicated with each other about
                                                                            those burdens or benefits. The parties should also be prepared to
support the burdens and expense of responding, while
                                                                            suggest ways to modify the requests or the responses to reduce
the party seeking proposed discovery ordinarily is in a                     the burdens and expense or to increase the likelihood that the
better position to specify the likely benefits by explain-                  proposed discovery will be beneficial to the case.
                                                                                Rule 26(b)(2)(B) addresses a specific type of burden argument
ing why it is seeking and needs the discovery.
                                                                            — that discovery should not proceed with respect to a particular
                                                                            source of electronically stored information because accessing infor-
                                                                            mation from that source is unduly burdensome or costly. Examples
COMMENTARY
                                                                            might include information stored using outdated or “legacy”
                                                                            technology or information stored for disaster recovery rather than
In general, proposed discovery that is likely to return important
                                                                            archival purposes that would not be searchable or even usable
information on issues that must be resolved will justify expending
                                                                            without significant effort. Rule 26(b)(2)(B) has specific provisions
more resources than proposed discovery seeking information that
                                                                            for discovery from such sources. Those provisions do not apply to
is unlikely to exist, that may be hard to find or retrieve, or that is on
                                                                            discovery from accessible sources, even if that discovery imposes
issues that may be of secondary importance to the case, that may
                                                                            significant burden or cost.
be deferred until other threshold or more significant issues are
resolved, or that may not need to be resolved at all. 	
    If a party objects that it would take too many hours, consume
                                                                                                     GUIDELINE 3
unreasonable amounts of other resources, or impose other
burdens to respond to the proposed discovery, the party should
specify what it is about the search, retrieval, review, or produc-
                                                                            Applying the six proportionality factors depends on the
tion process that requires the work or time or that imposes other           informed judgment of the parties and the judge, analyz-
burdens.                                                                    ing the facts and circumstances of each case. The weight
    If a party objects to the expense of responding to proposed
discovery, the party should be prepared to support the objection            or importance of any factor varies depending on the facts
with an informed estimate of what the expenses would be and                 and circumstances of each case.
how they were determined, specifying what it is about the source,
search, retrieval, review, or production process that requires the
expense estimated.                                                          COMMENTARY
    If a party requests discovery and it is objected to as overly
burdensome or expensive, the requesting party should be                     The significance of any factor depends on the case. The parties and
prepared to specify why it requested the information and why it             the judge must consider each factor to determine the degree to
expects the proposed discovery to yield that information. Assessing         which and the way the factor applies in that case. The factors that 4
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apply and their weight or importance can vary at different times in     that state with specificity why the proposed discovery is not propor-
the same case, changing as the case proceeds.                           tional to the needs of the case are permissible.
   No proportionality factor has a prescribed or preset weight or          The amendments do not alter the existing principles or frame-
significance. No one factor is intrinsically more important or enti-    work for determining which party must bear the costs of respond-
tled to greater weight than any other.                                  ing to discovery requests.
   The order in which the proportionality factors appear in the Rule
text does not signify preset importance or weight in a particular
case. The 2015 amendments reordered some of the factors to                                       GUIDELINE 5
defeat any argument that the amount in controversy was the most
important factor because it was listed first.
                                                                        If a party asserts that proposed discovery is not propor-
                                                                        tional because it will impose an undue burden, and the
                         GUIDELINE 4                                    opposing party responds that the proposed discovery
                                                                        will provide important benefits, the judge should assess
The Rule 26(b)(1) amendments do not require a party                     the competing claims under an objective reasonable-
seeking discovery to show in advance that the proposed                  ness standard.
discovery is proportional.
                                                                          					
                                                                        COMMENTARY
COMMENTARY
                                                                        In deciding whether a discovery request is proportional to the
The 2015 amendments to Rule 26(b)(1) do not alter the parties’          needs of the case, only reasonable (or the reasonable parts of)
existing obligations under the discovery rules. The obligations         expenses or burdens should be considered.
unchanged by the amendments include obligations under:                     Changes in technology can affect the context for applying the
    Rule 26(g), requiring parties to consider discovery burdens and     objective reasonableness standard. It is appropriate to consider
benefits before requesting discovery or responding or objecting         claims of undue burden or expense in light of the benefits and
to discovery requests and to certify that their discovery requests,     costs of the technology that is reasonably available to the parties.
responses, and objections meet the rule requirements;                      It is generally not appropriate for the judge to order a party to
    Rule 34, requiring parties to conduct a reasonable inquiry in       purchase or use a specific technology, or use a specific method, to
responding to a discovery request; and                                  respond to or to conduct discovery. In assessing discovery expenses
    Rule 26(c), Rule 26(f), Rule 26(g), and Rule 37(a), among           and burdens and the time needed for discovery, however, it may
others, requiring parties to communicate with each other about          be appropriate for the judge to consider whether a party has been
discovery planning, issues, and disputes. The need for communi-         unreasonable in choosing the technology or method it is using.
cation is particularly acute when questions concerning burden and
benefit arise because one side often has information that the other
side may not know or appreciate.
    The 2015 amendments do not require the requesting party to
make an advance showing of proportionality. Unless specific ques-
tions about proportionality are raised by a party or the judge, there
is no need for the requesting party to make a showing of or about
proportionality. The amendments do not authorize a party to object
to discovery solely on the ground that the requesting party has not
made an advance showing of proportionality.
    The amendments do not authorize boilerplate objections or
refusals to provide discovery on the ground that it is not propor-
tional. The grounds must be stated with specificity. Boilerplate
objections are insufficient and risk violating Rule 26(g). Objections
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JUDICATURE	               			                                                              55




                      II. The Practices
                                           The following practices suggest useful
                                           ways to achieve proportional discovery
                                           in specific cases. There is no one-size-fits-
                                           all approach. While practices that would
                                           advance proportional discovery in one case
                                           might hinder it in others, the suggestions
                                           may be helpful in many cases and worth
                                           considering in most. Although many of
                                           these suggestions are framed in terms of
                                           judges’ case-management practices, they
                                           are intended to provide helpful guidance
                                           to lawyers and litigants as well.
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                          PRACTICE 1                                                               PRACTICE 2

The parties should engage in early, ongoing, and mean-                   The judge should consider issuing an order in advance
ingful discovery planning. The judge should make it                      of the parties’ Rule 26(f) conference that clearly commu-
clear from the outset that the parties are expected to                   nicates what the judge expects the parties to discuss at
plan for and work toward proportional discovery. If                      the conference, to address in their Rule 26(f) report, and
there are disputes the parties cannot resolve, the parties               to be prepared to discuss at a Rule 16 conference with
should promptly bring them to the judge. The judge                       the judge.
should make it clear from the outset that he or she will
be available to promptly address the disputes.                           COMMENTARY

                                                                         The Rule 26(f) conference is a critical first step in achieving
COMMENTARY                                                               proportionality. The judge should make clear — by order or other
                                                                         manner the judge chooses — that the parties are expected to have
The judge and the parties share responsibility for ensuring that         a meaningful discussion and exchange of information during the
discovery is proportional to the needs of the case.                      Rule 26(f) conference and what the parties are expected to cover.
    The parties are usually in the best position to know which           The judge should also make clear that the Rule 26(f) report will be
subjects and sources will most clearly and easily yield the most         reviewed and addressed at the Rule 16 conference. Judges follow-
promising discovery benefits. In many cases, the parties use their       ing this practice often issue a form order that is routinely sent
knowledge of the case to set discovery priorities that achieve           shortly after the case is filed, along with the order sent to set the
proportionality. When that does not occur, judges play a critical role   date to file the Rule 26(f) report or to hold the Rule 16 conference.
by taking appropriate steps to ensure that discovery is proportional        In a case in which the judge has a basis to expect that discov-
to the needs of the case.                                                ery will be voluminous or complex, or in which there is likely to
    Judges have many practices available to work toward propor-          be significant disagreement about discovery, the judge might
tionality. They include: (1) orders issued early in the case communi-    consider scheduling a conference call with the parties before they
cating the judge’s expectations about how the parties will conduct       hold their Rule 26(f) conference.
discovery; (2) setting procedures for the parties to promptly iden-         Some districts address these practices in their local guidelines
tify disputes and attempt to resolve them, and if they cannot do so      or rules.
to bring them to the judge for prompt consideration; (3) setting
procedures to enable the parties to engage the judge promptly
and efficiently when necessary; and (4) communicating the judge’s
willingness to be available when necessary.                                                        PRACTICE 3
    The practices that follow provide examples of approaches that
judges and parties have used to timely and efficiently resolve           The judge should consider holding a “live” Rule 16(b)
discovery disputes, ranging from objections to overly expansive
requests to objections to obstructive or dilatory responses.             case-management conference, in person if practical,
    While the judge has the ultimate responsibility for determining      or by conference call or videoconference if distance or
the boundaries of proportional discovery, the process of achieving
                                                                         other obstacles make in-person attendance too costly or
proportional discovery is most effective and efficient, and the like-
lihood of achieving it is greatest, when the parties and the judge       difficult.
work together.

                                                                         COMMENTARY

                                                                         A “live” interactive conference provides the judge and the parties
                                                                         the best opportunity to meaningfully discuss what the discovery
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will be, where it should focus and why, and how the planned                                       PRACTICE 5
discovery relates to the overall case plan. A live interactive confer-
ence allows the judge to ask follow-up questions and probe the           In many cases, the parties will initially focus discovery on
responses to obtain better information about the benefits and            information relevant to the most important issues, avail-
burdens likely to result from the proposed subjects and sources
of discovery. A live interactive conference also provides the judge      able from the most easily accessible sources. In a case in
an opportunity to explore related matters, such as whether an            which the parties have not done so, or in which discovery
expected summary judgment motion might influence the timing,
                                                                         is likely to be voluminous or complex, or in which there
sequence, or scope of planned discovery.
    The parties and the judge should take advantage of technology        is likely to be significant disagreement about relevance
to facilitate live interactive case-management and other confer-         or proportionality, the parties and the judge should
ences and hearings when in-person attendance is impractical.
                                                                         consider initially focusing discovery on the subjects and
    In some cases, more than one live case-management confer-
ence might be appropriate. In a case in which discovery is likely to     sources that are most clearly proportional to the needs
be voluminous or complex, or in which there is likely to be signif-      of the case. The parties and the judge should use the
icant disagreement about discovery, the judge and parties should
consider whether to schedule periodic live conferences or hearings,
                                                                         results of that discovery to guide decisions about further
which can be canceled if not needed.                                     discovery.
    Some districts address this practice in their local guidelines or
rules.
                                                                         COMMENTARY

                                                                         The information available at the start of the case is often enough to
                          PRACTICE 4                                     allow the parties to identify subjects and sources of discovery that
                                                                         are both highly relevant and accessible without undue burden or
The judge should ensure that the parties have consid-                    expense. Discovery into those subjects and from those sources is
                                                                         usually proportional to the needs of the case because it is likely to
ered what facts can be stipulated to or are undisputed
                                                                         yield valuable information with relatively less cost and effort. In
and can be removed from discovery.                                       many cases, the parties initially focus discovery on these subjects
                                                                         and sources without judicial involvement and without explicitly
                                                                         labeling it as “proportional” or “focused.”
COMMENTARY                                                                  If the parties have not thought through discovery, or the discov-
                                                                         ery is likely to be voluminous or complex, or there is likely to be
Discovery about matters that are not in dispute and to which the         significant disagreement about relevance or proportionality, the
parties can stipulate is often inherently disproportionate because it    judge should encourage the parties to consider initially focus-
yields no benefit. The judge should ensure — through an order, in a      ing discovery on the information central to the most important
Rule 16 conference, or in another manner — that the parties are not      subjects, available from the most easily accessible sources of that
conducting discovery into matters subject to stipulation. The judge      information. The parties and the judge can use the information
should also work with the parties to identify matters that are not in    obtained to guide decisions about further discovery. For example,
dispute and need not be the subject of discovery, even if no formal      the parties can use the information to decide whether to make
stipulation is issued.                                                   additional discovery requests or how to frame them. The judge can
   A live interactive case-management conference provides an             use the information to help understand and resolve proportionality
excellent opportunity for the judge to raise these questions with        or other questions that may arise during further discovery.
the parties.                                                                The objective of this approach is to identify good places for
                                                                         discovery to begin, deferring until later more difficult questions
                                                                         about where discovery should end. This approach is sometimes
                                                                         described as conducting discovery into the “low-hanging fruit” and
                                                                         using that information to decide whether more is needed and what
                                                                         that should be.                                                       4
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     The parties are usually in the best position to determine                                      PRACTICE 6
whether and how to focus discovery in their cases. In some cases,
it is sufficient and preferable for the judge simply to verify that the   In a case in which discovery will initially focus on partic-
parties have adequately planned for discovery. In other cases, the        ular subjects or sources of information, the judge should
judge may need to explore options with the parties to help work
toward reaching an agreement.                                             consider including guidance in the Rule 16(b) case-man-
     It may make sense for the parties and the judge to focus early       agement order.
discovery on a particular issue, claim, or defense. For example, a
case may raise threshold questions such as jurisdiction, venue, or
limitations that are best decided early because the answers impact        COMMENTARY
whether and what further discovery is needed. In some cases, this
may be clear after initial disclosures are exchanged. In other cases,     While focusing early discovery can advance the goal of proportion-
it may be necessary for the parties to exchange more information          ality, it can also cause concern to some litigants. Some may worry
to identify whether and where early discovery might focus.                that it will be used as a tool to restrict discovery, fearing that they
     If the parties have conducted focused early discovery and more       will be required to make a special case for proportionality before
discovery is sought, no heightened showing is required. The parties       any additional discovery will be allowed. Others may worry that it
and the judge will have more information to assess proportionality,       will be used as a tool to protract discovery if additional rounds of
but the factors and their application do not change simply because        discovery are viewed as a given regardless of how robust the initial
some discovery has occurred.                                              efforts were or what information they yielded. Still others may
     A judge who holds a live Rule 16 conference can address with         worry that expressing an interest in focusing early discovery will be
the parties the potential benefits of focusing early discovery            mischaracterized or misunderstood as a desire for a rigidly phased
and his or her expectations about how the parties will conduct            or staged discovery process. Absent any guidance from the judge,
it. The judge can address concerns that one or more parties will          these and other concerns may lead parties to forego or resist focus-
misunderstand the process or engage in inappropriate tactics. The         ing early discovery even when it would make sense to do so.
judge might consider discussing with the parties what objections              The judge should consider taking steps to avoid misunderstand-
typically would or would not be appropriate. If the parties have          ing and provide clarity. The judge might consider including a state-
reached agreement on how to focus early discovery to get the most         ment in the Rule 16(b) case-management order acknowledging
important information from the most accessible sources, there             that the parties are initially conducting discovery into certain issues
should be few occasions for objections on relevance or proportion-        or from certain sources and will use the results to guide decisions
ality grounds.                                                            about further discovery. The judge might consider dividing the
     Judges should consider using other tools designed to facilitate      discovery period, using an interim deadline for completing early
and accelerate the exchange of core information. For example,             discovery and a later deadline for completing further discovery that
judges should consider using the Initial Discovery Protocols for          is warranted. Whether the judge formally divides the discovery
Employment Cases Alleging Adverse Action in cases where they              period or simply guides the parties to focus their early discovery,
apply. Developed jointly by experienced plaintiff and defense attor-      the judge might find it helpful to schedule a discovery status
neys, these protocols are pattern discovery requests that identify        conference or ask for a report after the early discovery is complete.
documents and information that are presumptively not objection-               If discovery is focused on particular subjects or sources, the
able and that must be produced at the start of the lawsuit. The           parties and the judge should consider whether this may require
self-described purpose of these protocols is to “encourage parties        some individuals to be deposed more than once, or require the
and their counsel to exchange the most relevant information and           responding party to search a source more than once. If so, the
documents early in the case, to assist in framing the issues to be        parties and the judge should address the issues, whether by
resolved and to plan for more efficient and targeted discovery.” The      adjusting the discovery to avoid repeat efforts, expressly leaving
protocols are another way to work toward proportional discovery           open the possibility of limited additional discovery from the same
and have been used effectively in courts around the country.              witness or source, or specifying other appropriate steps.
It is expected that work will be undertaken to develop similar                 If the parties reach agreement on subjects or sources for early
subject-specific discovery protocols for other practice areas.            focused discovery, a party stipulation or a court order might also
                                                                          specify ways to streamline that discovery, including arranging for
                                                                          the informal exchange of information.
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                             PRACTICE 7                                        judge and parties more information to decide whether all or part of
                                                                               it is proportional.
The judge should consider requiring the parties to                                 Sampling can be used to determine whether the likely benefits
                                                                               of the proposed discovery, or the burdens and costs of producing it,
request a conference before filing a motion relating to
                                                                               warrant granting all or part of the remaining request at a later time.
discovery, including a motion to compel or to quash                                If a modified request would be proportional, the judge
discovery or seeking protection from discovery.                                ordinarily should permit the proportional part of the discovery.
                                                                               However, the judge is under no obligation to do so and may rule
                                                                               on the discovery request as made.
COMMENTARY

A live pre-motion conference is often an effective way to promptly,                                      PRACTICE 9
efficiently, and fairly resolve a discovery dispute. The conference
often resolves the dispute, either by leading to an agreed reso-               The parties and judge should consider other discovery
lution or by providing the judge with the information needed to
rule. The case remains on track, the parties are saved expense, and            rules and tools that may be helpful in achieving fair,
the parties and judge are saved the work and time associated with              efficient, and cost-effective discovery.
formal motion practice that is often unnecessary. If the pre-motion
conference indicates that some briefing or additional information
on specific issues would be helpful, the judge can focus further               COMMENTARY
work on the specific issues that require it.
    The judge might consider requiring the party requesting a                  Other discovery rule changes and tools, not part of the proportion-
pre-motion conference on a discovery dispute to send a short                   ality amendments, should be considered as part of the judge’s and
communication — often limited to two pages — describing (not                   parties’ overall plan for fair, workable, efficient, and cost-effective
arguing) the issues that need to be addressed and allowing a                   discovery and case resolution.
similarly limited response.                                                        Rule 34 is amended to allow a requesting party to deliver docu-
    The judge can include a pre-motion conference requirement                  ment requests to another party before the Rule 26(f) conference.
and procedure in the case-management order issued under Rule                   The requests are not considered served until the meeting, and the
16(b). The procedure can include provisions for using telephone                30-day period to respond does not start until that date. The early
and video conferences if one or more of the parties cannot attend              opportunity to review the proposed requests allows the respond-
in person.                                                                     ing party to investigate and identify areas of concern or dispute.
    Some districts address this practice in their local guidelines or rules.   The parties can discuss and try to resolve those areas at the Rule
                                                                               26(f) conference on an informed basis. If disputes remain, the
                                                                               parties should use the Rule 26(f) report and the Rule 16(b) confer-
                             PRACTICE 8                                        ence to bring them to the court for early resolution.
                                                                                   As an alternative to the formal mechanism that now exists under
When proposed discovery would not or might not be                              Rule 34, some lawyers may prefer to share draft, unsigned document
                                                                               requests, interrogatories, and requests for admission. Both the
proportional if allowed in its entirety, the judge should
                                                                               formal and informal practices prompt an informed, early conversa-
consider whether it would be appropriate to grant the                          tion about the parties’ respective discovery needs and abilities.
request in part and defer deciding the remaining issues.                           Rule 34 is also amended to prohibit boilerplate objections
                                                                               to requested discovery, including objections to proportionality,
                                                                               and to require the responding party to state whether documents
COMMENTARY                                                                     are being withheld on the basis of objections. A judge’s prompt
                                                                               enforcement of these requirements can be very helpful in manag-
Allowing the proposed discovery in part can further an iterative               ing discovery.
process. The discovery allowed may be all that is needed, or it may                Rule 26(c) makes explicit judges’ authority to shift some or all
clarify what further discovery is appropriate. Deferring a decision            of the reasonable costs of discovery on a good cause showing if a
on whether to allow the rest of the proposed discovery gives the               party from whom discovery is sought moves for a protective order. 4
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A judge may, as an alternative to denying all of the requested                                            PRACTICE 10
discovery, order that some or all of the discovery may proceed on
the condition that the requesting party bear some or all of the           The parties and the judge should consider using technol-
reasonable costs to respond.​The longstanding presumption in              ogy to help achieve proportional discovery.
federal-court discovery practice is that the responding party bears         	
the costs of complying with discovery requests. That presumption
continues to apply. The 2015 amendments to Rule 26(c) make that           COMMENTARY
authority explicit but do not change the good cause requirement or
the circumstances that can support finding good cause.                    Technology can help proportionality by decreasing the burden
    Rule 37(e) is amended to clarify when and how a judge may             or expense, or by increasing the likely benefit, of the proposed
respond to a party’s inability to produce electronically stored           discovery.
information because it was lost and the party failed to take                 When the discovery involves voluminous amounts of electron-
reasonable steps to preserve it. It provides a nationally uniform         ically stored information, the parties and judge should consider
standard for when a judge may impose an adverse inference                 using technologies designed to categorize or prioritize documents
instruction or other serious sanctions. It responds to the concern        for human review.
that some persons and entities were over-preserving out of fear              Because technology evolves quickly, the parties and the judge
their actions would later be judged under the most demanding              should not limit themselves in advance to any particular technol-
circuit standards. Working toward proportionality in preservation is      ogy or approach to using it. Instead, the parties and the judge
an important part of achieving proportionality in discovery overall.      should consider what specific technology and approach works best
Other rule amendments emphasize the need for careful attention            for the particular case and discovery.
to preservation issues. Rule 26(f) has been amended to add preser-
vation of electronically stored information to the list of issues to be
addressed in the parties’ discovery plan. Rule 16(b) is amended to
add preservation of electronically stored in formation to the list of
issues the case-management order may address.
    Rule 16(b) and Rule 26(f) have been amended to encourage the          1	
                                                                               These guidelines and practices use the word “parties” to cover lawyers and
use of orders under Rule 502(d) of the Federal Rules of Evidence               represented litigants, although many of the practices apply usefully to cases
                                                                               involving unrepresented litigants as well.
providing that producing information in the litigation does not
waive attorney-client privilege or work-product protection, either in
that litigation or in subsequent litigation. Nonwaiver orders under
Federal Rule of Evidence 502(d) can promote proportionality by
reducing the time, expense, and burden of privilege review and
waiver disputes.
    Questions impacting and approaches to discovery are usually
best explored in a live conference between the judge and the
parties, preferably before formal discovery-related motions (such as
under Rule 26(c) or Rule 37(a)) and accompanying briefs are filed.
A live Rule 16 or pre-motion conference enables the judge and
the parties to examine how the various discovery tools can best be
used to create and implement an effective discovery and case-
management plan.
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                         ATTACHMENT 4

 CONSENT TO PROCEED BEFORE A MAGISTRATE JUDGE




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UNITED STATES DISTRICT COURT                                   SOUTHERN DISTRICT OF TEXAS

                                                 §
                                                 §
                                                 §
versus                                           §            CIVIL ACTION
                                                 §
                                                 §
                                                 §


                  Consent to Proceed Before a Magistrate Judge

       All parties to this case waive their right to proceed before a district judge and consent to
have a United States Magistrate Judge conduct all further proceedings, including the trial and
judgment. 28 U.S.C. § 636©.


___________________________________                    ___________________________________


___________________________________                    ___________________________________




                                     Order to Transfer

                    This case is transferred to United States Magistrate Judge

                       _________________________________________

                   to conduct all further proceedings, including final judgment.




         _______________                           ______________________________________
         Date                                               United States District Judge




                                                 5                               (Revised March 2017)
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                         ATTACHMENT 5

                 THE JOINT PRETRIAL ORDER




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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

_________________________,                        §
                                                  §
                       Plaintiff(s),              §
                                                  §
v.                                                §    CIVIL ACTION NO. H-_________
                                                  §
_________________________,                        §
                                                  §
                       Defendant(s).              §

                                   JOINT PRETRIAL ORDER

                                        Appearance of Counsel

       List the parties, their respective counsel, and the addresses and telephone numbers of
counsel (including e-mail addresses) in separate paragraphs.

                                        Statement of the Case

        Give a brief statement of the case. The court may read this statement to the jury panel
during the voir dire examination. Include names, dates, and places, and a brief statement of the
parties’ contentions and the issues to be resolved at trial.

                                             Jurisdiction

        Briefly set out why the court has jurisdiction of the subject matter and the parties. If there
is an unresolved jurisdictional question, state the problem.

                                               Motions

       List any pending motions.

                                       The Parties’ Contentions

       State concisely in separate paragraphs the contentions that are necessary to the relief
sought in the case. A lengthy list of every “contention” is not helpful; include only those that are
an essential basis for resolving the case.

                                          Admissions of Fact

       List only those admitted facts necessary to the disposition and relief sought in the case,
which require no proof.


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                                           Disputed Facts

       List only those disputed facts necessary to the disposition and relief sought in the case.

                             Agreed Applicable Propositions of Law

         State only those legal propositions not in dispute that are necessary to the disposition and
relief sought in the case.

                                     Contested Issues of Law

        State briefly the disputed issues of law necessary to the disposition and relief sought in
the case. A memorandum of authorities addressing only these issues must accompany the Order.

                                              Exhibits

        Each party will attach to this Joint Pretrial Order two copies of a list in the form shown by
attachment A (or a similar form) of all exhibits expected to be offered. Each party will make the
exhibits available for examination by the opposing parties. This rule does not apply to rebuttal
exhibits, which cannot be anticipated.

       All parties requiring authentication of an exhibit must notify the offering counsel in
writing within 7 days after the exhibit is listed and made available to opposing parties. Failure to
do so may be deemed an admission of authenticity.

        The court will admit all exhibits listed in the final Joint Pretrial Order into evidence
unless the opposing parties file written objections with authorities at least 7 days before trial.

      The offering party will mark his own exhibits before trial to include the party's name, case
number, and exhibit number on each exhibit.

                                             Witnesses

        List separately the names and addresses of witnesses who will be called and those who
may be called and include a brief statement of the subject matter and substance of their
testimony. If a witness is to appear by deposition, cite the inclusive pages and lines to be read.
Objections to those portions (citing pages and lines) with supporting authority must be filed at
least 7 days before trial.

       Each party will also attach to the Joint Pretrial Order two copies of a list of witnesses'
names for use only by court personnel.

               Include in this section the following statement:

                       "If any other witnesses will be called at the trial, their names,
                       addresses and the subject matter of their testimony will be reported
                       to opposing counsel as soon as they are known. This restriction

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                      will not apply to rebuttal or impeachment witnesses, the necessity
                      of whose testimony cannot reasonably be anticipated before trial."

                                           Settlement

      Include a statement as to the status of any settlement negotiations.

                                               Trial
      State:

               (a)    whether the trial will be jury or nonjury;

               (b)    the probable length of trial;

               (c)    the availability of witnesses; and

               (d)    any foreseeable logistical problems.

                              Additional Required Attachments

               For jury trials include:

               (a)    Proposed questions for the voir dire examination.

               (b)    A single, joint proposed jury charge, including all instructions,
                      definitions, and questions, separately numbered and presented on
                      a separate page, with authority. If there are instructions,
                      definitions, or questions as to which the parties cannot agree, the
                      disputed language is to be set out in bold type, italics, or underlined
                      to identify it as disputed and labeled to indicate which party is
                      requesting the disputed language. The proposed charge must also
                      be submitted on a CD compatible with Corel WordPerfect 11 word
                      processing.

               (c)    A memorandum of law.


               For nonjury trials include:

               (a)    Proposed findings of fact and conclusions of law.

               (b)    Memorandum of law.

________________________                     ______________________________________
          Date                                         LEE H. ROSENTHAL
                                             CHIEF UNITED STATES DISTRICT JUDGE


                                                 3                              (Revised March 2017)
   Case 4:19-cv-01035 Document 4-1 Filed on 03/21/19 in TXSD Page 29 of 34



APPROVED:


____________________________________       ____________________________
Counsel for Plaintiff(s)                   Date

____________________________________       ____________________________
Counsel for Defendant(s)                   Date




                                       4                       (Revised March 2017)
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                       ATTACHMENT 5-A

                           EXHIBIT LIST




                                                           (Revised March 2017)
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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

                                        §
                                        §   CA/CR NO.
                                        §
                                        §   LEE H. ROSENTHAL
v.                                      §   CHIEF JUDGE
                                        §
                                        §   Lisa Eddins       ___________
                                        §   COURTROOM          COURT
                                        §   CLERK              REPORTER
                                        §
                                        §   ____________________________
                                            PROCEEDING

                                            ____________________________
                                            EXHIBIT LIST OF


                                                                    DATE
  NO.               DESCRIPTION                 OFFR    OBJ
                                                              ADMIT      N/ADM



     1



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     3



     4



     5



     6




                                                                (Revised March 2017)
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                                                            (Revised March 2017)
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                         ATTACHMENT 6

     CERTIFICATE OF SERVICE IN REMOVED ACTION




                                                           (Revised March 2017)
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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

_________________________,                       §
                                                 §
                       Plaintiff(s),             §
                                                 §
v.                                               §    CIVIL ACTION NO. H-_________
                                                 §
_________________________,                       §
                                                 §
                       Defendant(s).             §

                   CERTIFICATE OF SERVICE IN REMOVED ACTION

        I certify compliance with the court's Order entered upon filing of the petition for removal

of this action.

        On _________________________, 20___, I served copies of the Order for Conference

and Court Procedures on all other parties.



____________________________                          ________________________________
            Date                                            Attorney for Defendant(s)




                                                                                (Revised March 2017)
